 Case 5:20-cr-50095-JLV Document 93 Filed 03/08/23 Page 1 of 2 PageID #: 455




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH DAKOTA


UNITED STATES OF AMERICA,
                                                        5:20-cr-50095-JLV
       Plaintiff,

vs.                                           DEFENDANT’S SECOND MOTION
                                             FOR EXTENSION OF TIME TO FILE
CODY WAYNE HOPKINS,                           SEALED LETTERS OF SUPPORT

       Defendant.


      Comes now Defendant, Cody Wayne Hopkins, by and through his attorney,

Assistant Federal Public Defender Alecia E. Fuller, respectfully moves the Court for

its order extending until March 23, 2023, the time by which the Defendant may file

sealed letters of support with the Court.

      As grounds and good cause for this motion, the Defendant states:

      1.     On January 26, 2023, United States Probation filed with the Court the

             Draft Presentence Report (Docket 88).

      2.     At the time of this filing the deadline for sealed letters of support was

             set for February 23, 2023. Counsel then filed a motion extending this

             deadline by two weeks requesting a new deadline of March 9, 2023.

      3.     Defendant’s family has indicated they will be sending support letters,

             but they are unlikely to be delivered by March 9th.

      4.     Sentencing is scheduled for April 28, 2023.
Case 5:20-cr-50095-JLV Document 93 Filed 03/08/23 Page 2 of 2 PageID #: 456




     Wherefore, Defendant requests this Court issue an Order extending the time

within which he may file support letters for his sentencing by two (2) additional

weeks.

     Dated this 8th day of March 2023.

                                Respectfully submitted,

                                JASON J. TUPMAN
                                Federal Public Defender
                                By:

                                /s/ Alecia E. Fuller
                                Alecia E. Fuller
                                Assistant Federal Public Defender
                                Attorney for Defendant
                                Office of the Federal Public Defender
                                Districts of South Dakota and North Dakota
                                655 Omaha Street, Suite 100
                                Rapid City, SD 57701
                                Telephone: 605-343-5110; Facsimile: 605-343-1498
                                filinguser_SDND@fd.org




                                         2
